 Case: 4:21-cr-00155-MTS Doc. #: 41 Filed: 02/14/22 Page: 1 of 1 PageID #: 180




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
      Plaintiff,                              )
                                              )     No. 4:21 CR 155 MTS
 v.                                           )
                                              )
 BRENT M. LAWSON,                             )
                                              )
      Defendant.                              )

                UNITED STATES OF AMERICA'S STATEMENT
           REGARDING THE PRESENTENCE INVESTIGATION REPORT


         COMES NOW the United States of America and states that the Government

Accepts the Presentence Investigation Report.

                                          Respectfully submitted,

                                          SAYLER A. FLEMING
                                          United States Attorney

                                          /s Jillian S. Anderson
                                          JILLIAN S. ANDERSON, #53918MO
                                          Assistant United States Attorney




                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on February 14, 2022, a copy of the above
was served via this Court’s electronic filing system and emailed to all counsel of record.


                                           /s Jillian S. Anderson
                                           JILLIAN S. ANDERSON, #53918MO
                                          Assistant United States Attorney
